Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 1 of 7
Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 2 of 7
Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 3 of 7
Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 4 of 7
Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 5 of 7
Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 6 of 7
Case:18-07304-ESL12 Doc#:198 Filed:10/23/20 Entered:10/23/20 19:30:24   Desc: Main
                            Document Page 7 of 7
